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                UNITED STATES COURT OF INTERNATIONAL TRADE
                  BEFORE: THE HONORABLE TIMOTHY M. REIF


 EREĞLI DEMIR VE ÇELIK FABRIKALARI T.A.Ş.

                        Plaintiff,
 v.

 UNITED STATES INTERNATIONAL TRADE
   COMMISSION,
                                                                       22-cv-00350
                        Defendant,

 and

 UNITED STATES STEEL CORPORATION et al.,

                        Defendant-intervenors.



                                     NOTICE OF APPEAL

       Notice is hereby given that Ereğli Demir ve Çelik Fabrikalari T.A.Ş. (Erdemir), Plaintiff

in the above-captioned case, hereby appeals to the United States Court of Appeals for the Federal

Circuit from the order entering judgment in this action dated July 22, 2024 (ECF No. 56) and

from the underlying slip opinion issued on July 22, 2024 (ECF No. 55).

                                          Respectfully submitted,

                                          /s/ David L. Simon
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Date: August 14, 2024                     Counsel to Erdemir
